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P|aintiff

VS.
CR. NO. 05-20189-D

W|LL|E ALFRED MASON

Defendant.

 

ORDER ON CONTFNUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date and
announced that the parties were ready to proceed to trial during the November rotation
calendar.

The Court granted the request and reset the trial date to the November rotation
calendar which begins November 7, 2005 with no further report date.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

lT lS SO ORDERED this ZA,L day of September, 2005.

  

ment entered on the dockets

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UNITED sTATE DRISTIC COURT - WE"RNTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20189 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

